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                 IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                              CLARKSBURG

JOSEPH BOCZEK,

            Plaintiff,

v.                                      CIVIL ACTION NO. 1:23-CV-43
                                                  (KLEEH)

PENTAGON FEDERAL CREDIT UNION
d/b/a PENFED,

            Defendant.

 MEMORANDUM OPINION AND ORDER GRANTING MOTION TO AMEND COMPLAINT
                           [ECF NO. 58]

     Pending before the Court is Plaintiff’s Motion to Amend [ECF

No. 58], which seeks leave to amend the Complaint to revise the

class definition to include consumers who paid Pay-to-Pay Fees to

Defendant   Pentagon     Federal   Credit   Union   irrespective    of   the

particular loan type or extension of credit. Defendant opposes

Plaintiff’s motion to amend the Complaint [ECF No. 1]. ECF No. 62.

For the reasons stated herein, Plaintiff Joseph Boczek’s Motion

[ECF NO. 58] is GRANTED.

                    I.     RELEVANT PROCEDURAL HISTORY

     On May 16, 2023, Plaintiff Joseph Boczek (“Mr. Boczek” or

“Plaintiff”), on behalf of himself and all persons similarly

situated filed a class action complaint alleging violation of the

West Virginia Consumer Credit and Protection Act (“WVCCPA”). ECF

No. 1. On April 15, 2024, Plaintiff moved to compel the production
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of certain discovery relating to information regarding unsecured

loans. ECF No. 43. Upon referral, Magistrate Judge Aloi denied

Plaintiff’s Motion to Compel because the information sought was

not relevant to the Complaint as presently pled. ECF No. 57.

Following this ruling, Plaintiff filed the subject Motion to amend

his Complaint to revise the class definition to include consumers

who paid Pay-to-Pay Fees to Pentagon Federal Credit Union (“PenFed”

or   “Defendant”)   irrespective    of   the   particular   loan    type   or

extension of credit. ECF No. 58. On June 5, 2024, PenFed filed its

response in opposition [ECF No. 62] and Plaintiff filed his reply

in support of his Motion on June 12, 2024 [ECF No. 63].

                            II.   LEGAL STANDARD

         a. Leave to Amend Under Rule 15
      Federal Rule of Civil Procedure 15 permits a plaintiff to

amend a complaint “once as a matter of course” within either

21 days after serving the complaint, or “21 days after service of

a responsive pleading or . . . a motion under Rule 12(b), (e), or

(f), whichever is earlier.” Fed. R. Civ. P. 15(a)(1). “In all other

cases, a party may amend its pleading only with the opposing

party’s written consent or the court’s leave. The Court should

freely   give   leave   when   justice   so    requires.”   Fed.    R.   Civ.

P. 15(a)(2).



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     The decision to grant or deny a motion to amend is within the

discretion of the Court. See Scott v. Fam. Dollar Stores, Inc.,

733 F.3d 105, 121 (4th Cir. 2013). Nonetheless, the Supreme Court

of the United States has set forth factors for courts to consider

when applying Rule 15(a)(2). See Foman v. Davis, 371 U.S. 178, 182

(1962); Johnson v. Oroweat Foods Co., 785 F.2d 503, 509 (4th Cir.

1986). Courts should grant leave to amend unless the amendment

(1) “would be prejudicial to the opposing party,” (2) “there has

been bad faith on the part of the moving party,” or (3) “the

amendment would have been futile.” Johnson, 785 F.2d at 509 (citing

Foman, 371 U.S. at 182).

     First, prejudice to the opposing party can result when a

proposed amendment raises a new legal theory that would require

the gathering and analysis of facts not already considered by the

opposing party. Id. at 510. Often, a finding of prejudice applies

when the amendment is offered “shortly before or during trial.”

Id. (citing Roberts v. Ariz. Bd. of Regents, 661 F.2d 796, 798

(9th Cir. 1981) (citations omitted)).

     The second factor is whether the party seeking to amend is

doing so in bad faith. Bad faith amendments are “abusive” or “made

in order to secure some ulterior tactical advantage.” GSS Props.,

Inc. v. Kendale Shopping Ctr., Inc., 119 F.R.D. 379, 381 (M.D.N.C.



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Mar. 15, 1988) (citing 6 C. Wright & Miller, Federal Practice and

Procedure, § 1487 (updated Apr. 2015))). In assessing this factor,

the court may consider the movant’s delay in seeking the amendment

but delay alone “is an insufficient reason to deny the plaintiff's

motion to amend.” Hart v. Hanover Cnty. Sch. Bd., No. 11-1619, 495

Fed. App’x 314 (4th Cir. 2012) (citations omitted).

      The third factor weighs against granting leave to amend when

amending the complaint would be futile. Johnson, 785 F.2d at 509-

10. Even in the absence of prejudice and bad faith, a court should

still deny leave to amend when the amended complaint would not

survive a motion to dismiss, Perkins v. U.S., 55 F.3d 910, 917

(4th Cir. 1995), or “when the proposed amendment is clearly

insufficient or frivolous on its face.” Johnson, 785 F.2d at 510.1

                                III. DISCUSSION

    A. The Court has subject matter jurisdiction over this action
       pursuant to CAFA, as pled in Plaintiff’s original Complaint.
      The    Court   first     addresses   PenFed’s   assertion      in   its

opposition     briefing      that   this   Court   lacks   subject    matter




1 The Court notes that Federal Rule of Civil Procedure 16’s good
cause standard does not apply here because the Court’s scheduling
orders in this matter only provide deadlines regarding class
certification and did not provide a deadline for amending the
Complaint. Thus, Rule 15 governs the Court’s analysis of the
pending Motion.
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jurisdiction over the claims in Plaintiff’s Complaint.2 Pursuant

to the Class Action Fairness Act (“CAFA”),

           (2) The district courts shall have original
           jurisdiction of any civil action in which the
           matter in controversy exceeds the sum or value
           of $5,000,000, exclusive of interest and
           costs, and is a class action in which—

           (A)     any member of a class of plaintiffs is a
                   citizen of a State different from any
                   defendant;

           (B)     any member of a class of plaintiffs is a
                   foreign state or a citizen or subject of
                   a foreign state and any defendant is a
                   citizen of a State; or

           (C)     any member of a class of plaintiffs is a
                   citizen of a State and any defendant is
                   a foreign state or a citizen or subject
                   of a foreign state.

28 U.S.C. § 1332(d)(2). “In most cases, the ‘sum claimed by the

plaintiff controls’ the amount in controversy determination.” JTH

Tax, Inc. v. Frashier, 624 F.3d 635, 638 (4th Cir. 2010) (quoting

St. Paul Mercury Indem. Co. v. Red Cab Co., 303 U.S. 283, 288

(1938)). “If the plaintiff claims a sum sufficient to satisfy the



2 “‘The existence of subject matter jurisdiction is a threshold
issue’ which a Court must address prior to reaching the merits of
a case.” Linton v. Rollo, No. CIV.A. 1:07CV72, 2007 WL 3408247, at
*1 (N.D.W. Va. Nov. 15, 2007) (citing Jones v. American Postal
Workers Union, 192 F.3d 417, 422 (4th Cir. 1999)).
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statutory requirement, a federal court may dismiss only if ‘it is

apparent, to a legal certainty, that the plaintiff cannot recover

the amount claimed.’” Id. (quoting St. Paul Mercury Indem. Co.,

303 U.S. at 289) (emphasis in original). “[T]he legal impossibility

of recovery must be so certain as virtually to negative the

plaintiff's good faith in asserting the claim. If the right of

recovery    is   uncertain,   the    doubt     should   be   resolved,    for

jurisdictional purposes, in favor of the subjective good faith of

the plaintiff. McDonald v. Patton, 240 F.2d 424, 426 (4th Cir.

1957). “Defendants, seeking dismissal of diversity actions for

lack of a sufficient amount in controversy, must therefore shoulder

a heavy burden.” JTH Tax, Inc., 624 F.3d at 638.

     In its response to Plaintiff’s Motion to amend his Complaint,

PenFed asserts that the amount in controversary does not satisfy

the minimum threshold for diversity under CAFA. ECF No. 62. While

Plaintiff’s original Complaint alleges the amount in controversy

exceeds    $5,000,000,   Defendant    argues    this    is   untrue   because

discovery presently supports that the amount in controversy is

$844,200.00. Id. at p. 4. Plaintiff disagrees, and asserts it is

far from a legal certainty that Mr. Boczek and the putative class

cannot recover a sum over the jurisdictional threshold – especially

because discovery is ongoing. ECF No. 63 at pp. 3-4. Rather,



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Plaintiff    asserts    that   he   pled    in   good   faith    that   the

jurisdictional prerequisites for CAFA were met in his Complaint

and that Defendant has not proven that it is legally impossible

for Mr. Boczek to recover more than $5,000,000. Id. at p. 5.

     Here, Mr. Boczek filed this action in this Court on behalf of

himself and other similarly situated individuals on May 16, 2023,

and alleged “[s]ubject matter jurisdiction exists under the Class

Action Fairness Act because diversity exists between the Defendant

and at least one class member and the amount in controversy exceeds

$5,000,000.” ECF No. 1, Compl. at ¶ 10. Defendant has not met its

heavy burden to overcome the presumed subjective good faith of

Plaintiff in his pleading. While Defendant claims that the amount

in controversy evidenced by discovery is $844,200.00, the amount

in controversy is determined at the time of filing the action –

not mid-discovery. See Grupo Dataflux v. Atlas Global Group, L.P.,

541 U.S. 567, 570 (2004) (noting that “the jurisdiction of the

court depends upon the state of things at the time of the action

brought.”). Moreover, the Court notes that because discovery has

not concluded, Defendant cannot show the legal impossibility of

recovery. Rather, as noted by Plaintiff, continued data search and

production from Defendant increased the number of relevant fee

charges from 97 to 840. ECF No. 63 at pp. 3-4. Further, class



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discovery is not presently scheduled to close until February 7,

2025 [ECF No. 72]. Thus, it remains possible that additional

evidence of relevant fee charges could be discovered. Regardless,

however,     nothing      in    Defendant’s          briefing     indicates       that

Plaintiff’s pleading of the amount in controversy was made in bad

faith at the time of filing and the amount ultimately recoverable

does not divest this Court of subject matter jurisdiction.

       Accordingly, the Court finds that it possesses subject matter

jurisdiction over this action pursuant to the Class Action Fairness

Act.

  B. Plaintiff’s Motion to Amend is granted.
       Pursuant    to   Rule    15(a)     of   the    Federal     Rules    of     Civil

Procedure, Plaintiff argues good cause exists and that the Foman

factors    support      granting     leave     for    Plaintiff    to     amend    his

Complaint. First, Plaintiff claims that granting leave to amend

the    complaint     would     not   be    prejudicial      to    PenFed     because

identifying additional class members and data concerning the Pay-

to-Pay Fees for the proposed extended class members could be

accomplished by searching Defendant’s electronic records. ECF No.

58-1 at pp. 4-5. And, Defendant’s discovery responses indicated

the ability to search its Hogan database to identify fees which

were charged on unsecured consumer loans. Id. Second, Plaintiff

asserts that the Motion to Amend is not made in bad faith and

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instead serves to include individuals who were allegedly damaged

in the same manner as Plaintiff, “regardless of the type of loan

or credit extension individuals paid fees in relation to, and

whether or not the loan or line of credit is secured or unsecured.”

Id. at p. 5. Plaintiff also argues that any delay in filing the

subject Motion was due to Defendant “slow walking the discovery

process.” Id. Third, Plaintiff states the proposed amendment is

not futile because it would amend the class definition to expand

coverage to other customers who were compelled to pay the alleged

illegal Pay-to-Pay Fees. Id. at p. 6. Plaintiff further reserved

the right to refine the class definition in his Complaint. Id.;

ECF No. 1, Compl. at ¶ 26.

        In contrast, Defendant argues that the Court should not grant

Plaintiff’s Motion because the proposed amendment would be futile.

ECF No. 62 at p. 5. Defendant asserts that the expanded class would

still not enable Plaintiff to meet the $5,000,000 amount in

controversy requirement. Id. at pp. 5-6. PenFed contends that a

review of its data supports that it is “highly unlikely” that the

potential damages recoverable in this case would amount to the

CAFA jurisdictional threshold. Id. Defendant also notes that it

acted in good faith in responding to discovery and that “the short

delay     in   PenFed’s   responses       to   Boczek’s   second    set   of



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interrogatories was caused by factors that were outside of PenFed’s

control.” Id. at p. 7.

      Here, the Court finds that the Foman factors support allowing

Plaintiff to amend his Complaint. Defendant is not prejudiced by

allowing Plaintiff to clarify or expand the scope of the proposed

class. Including consumers who paid Pay-to-Pay Fees to Defendant

irrespective of the particular loan type or extension of credit in

the proposed class does not raise a new theory of liability; rather

the same theory of liability is being applied to more potential

plaintiffs.    Furthermore,    the    amendment      is    not   being   offered

shortly before or during trial because trial has not yet been

scheduled.    Discovery     continues      through   February     2025,    which

provides Defendant with more time to search its Hogan database and

elsewhere for the relevant identities and data.

      Second, Plaintiff’s proposed amendment does not appear to be

in   bad   faith   and   Defendant   does    not   point    to   the   contrary.

Plaintiff moved to amend his Complaint following Magistrate Judge

Aloi’s ruling that he was not entitled to information regarding

unsecured loans because it was not relevant to the Complaint as

pled. See ECF No. 57. Accordingly, Plaintiff seeks to amend the

Complaint to expand the class and gain access to such discovery.

There was little delay, only thirteen days, between the Magistrate



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Judge’s discovery ruling and Plaintiff’s filing of the subject

Motion.

       Third, the proposed amendment is not futile because it expands

the class definition to include consumers who paid Pay-to-Pay Fees

to Defendant irrespective of the particular loan type or extension

of credit. Increasing the number of class members that could be

represented    in    the   action   is    not       frivolous    or   insufficient.

Defendant’s    argument     regarding         the   amount    in   controversy   is

unpersuasive for the same reasons previously stated. Plaintiff’s

original Complaint sufficiently pled the amount in controversy and

thus the Court has subject matter jurisdiction – irrespective of

the Court granting leave to amend the class. Thus, Plaintiff’s

Motion to Amend [ECF No. 58] is GRANTED.3

                                IV.      CONCLUSION
       For the reasons stated herein, Plaintiff’s Motion to Amend

[ECF No. 58] is GRANTED. The Court DIRECTS the Clerk of Court to

FILE    SEPARATELY    Plaintiff’s        Amended      Class     Action   Complaint,

attached as ECF No. 58-3.

       It is so ORDERED.


3 “When a plaintiff files a complaint in federal court and then
voluntarily amends the complaint, courts look to the amended
complaint to determine jurisdiction.” Rockwell Int'l Corp. v.
United States, 549 U.S. 457, 127 S. Ct. 1397, 167 L. Ed. 2d 190
(2007). Accordingly, upon its filing, Plaintiff’s Amended Class
Action Complaint will serve as the basis for jurisdiction.
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      The Clerk is directed to transmit copies of this Order to

counsel of record.

      DATED: November 15, 2024



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                                   THOMAS S. KLEEH, CHIEF JUDGE
                                   NORTHERN DISTRICT OF WEST VIRGINIA




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